                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

ANDREA THOMAS, DEANDRE
TINSON, and SHONNIKA SPEARS, on
behalf of themselves and all others similarly
situated,

                Plaintiffs,

      vs.
                                                    Case Nos. 19-cv-01528, 21-cv-
AMAZON.COM SERVICES, INC.,                          00442
AMAZON LOGISTICS, INC.,
AMAZON.COM LLC, JSTC, LLC,
COMMERCIAL EXPRESS, INC., COEI,
LLC, AG PLUS EXPRESS, LLC, and
DROP A BOX, INC.,

             Defendants.
___________________________________/

               JOINT MOTION TO EXTEND DEADLINE TO FILE
                  MOTION FOR PRELIMINARY APPROVAL

      Plaintiffs Andrea Thomas, Deandre Tinson, and Shonnika Spears

(“Plaintiffs”) and Defendants Amazon.com Services, Inc., Amazon.com Logistics,

Inc., Amazon.com LLC, JSTC, LLC, Commercial Express, Inc., COEI, LLC, AG

Plus Express, LLC, and Drop a Box, Inc. (collectively, the “Parties”), by and through

their undersigned counsel, hereby move the Court to extend the deadline to file the

Motion for Preliminary Approval of the Parties’ Settlement Agreement by one week,
from December 10, 2021 to December 17, 2021. In support of this Motion, the

Parties state the following:

         1.   The Parties notified the Court that they had reached an agreement in

principle on November 5, 2021, and requested that the Court adjourn the case

deadlines in the case and set a deadline for Plaintiff to file a Motion for Preliminary

Approval with the Court of December 10, 2021. (ECF No. 97.) The Court granted

the Parties’ Motion. (ECF No. 98).

         2.   The Parties have worked diligently since that time, and have finalized

the long form Settlement Agreement. The final Settlement Agreement is currently

being circulated for signature by all parties. In addition, the Parties solicited bids

for settlement administration services and have selected a settlement administrator.

         3.   The Parties are currently in the process of finalizing the Motion for

Preliminary Approval. In order to ensure that all of the documents are properly

prepared and approved by all Parties, the Parties respectfully request an additional

one week extension of time -- from December 10, 2021 to December 17, 2021-- to

obtain all necessary signatures as well as to take the necessary steps to finalize the

briefing and submit the settlement to the Court for its review and approval.

         4.   The requested extension is made in good faith and not for purposes of

delay.




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                         Local Rule 3.01(g) Certification

      The Parties have conferred regarding the relief requested and all Parties

consent to and jointly seek the relief requested herein.

                               Memorandum of Law

      Federal Rule of Civil Procedure 6(b)(1) establishes that upon good cause

shown, the Court may enlarge the period of time within which a party is required to

act. Such authority is within the Court’s broad discretion to manage its cases,

including scheduling. See Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360

(11th Cir. 2002) (citing Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234,

1269 (11th Cir. 2001)). Unless the deadline for response has passed, any motion for

enlargement remains timely. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 895

& n.5 (1990); see also Ritter v. Smith, 811 F.2d 1398, 1403 (11th Cir. 1987), cert.

denied, 483 U.S. 1010 (1987). Courts have recognized that timely motions under

Federal Rule of Civil Procedure 6(b)(1) generally are granted, and that such

enlargements are “readily available.” See, e.g., Sherrod v. Piedmont Aviation, Inc.,

516 F. Supp. 39, 41 (E.D. Tenn. 1978); In re Pioneer Inv. Servs. Co., 106 B.R. 510,

515 (Bankr. E.D. Tenn. 1989). As this motion sets forth good cause for the relief

sought, and neither the Parties nor these proceedings would be prejudiced by the

granting of this Joint Motion, it would be an appropriate exercise of the Court’s

discretion to grant the requested extension of time.



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      WHEREFORE, for good cause shown, the Parties respectfully request that the

Court enter an Order extending the time for Plaintiffs to file the Motion for

Preliminary Approval by one week, from December 10, 2021 to December 17, 2021.

Dated: December 8, 2021

Respectfully submitted,

/s/ Sarah R. Schalman-Bergen            /s/ Christopher K. Ramsey
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                                 Express, LLC, and Drop a Box, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 8, 2021, the foregoing Joint Motion to

Extend Deadline to File Conditional Collective Certification Motion was

electronically filed with the Clerk of Court using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.


                                        /s/ Sarah R. Schalman-Bergen
                                        Sarah R. Schalman-Bergen




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